                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 1 of 19


                                  1   Thiago M. Coelho, SBN 324715
                                      thiago@wilshirelawfirm.com
                                  2   Shahin Rezvani, SBN 199614
                                      srezvani@wilshirelawfirm.com
                                  3   Jennifer M. Leinbach, SBN 281404
                                  4   jleinbach@wilshirelawfirm.com
                                      Jesenia A. Martinez, SBN 316969
                                  5   jesenia.martinez@wilshirelawfirm.com
                                      Jesse S. Chen, SBN 336294
                                  6   jchen@wilshirelawfirm.com
                                      WILSHIRE LAW FIRM, PLC
                                  7   3055 Wilshire Blvd., 12th Floor
                                  8   Los Angeles, California 90010
                                      Telephone: (213) 381-9988
                                  9   Facsimile: (213) 381-9989

                                 10   Attorneys for Plaintiffs
                                      and Proposed Class
                                 11
                                 12                               UNITED STATES DISTRICT COURT

                                 13
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137




                                                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 WILSHIRE LAW FIRM, PLC




                                 14   FLOR JIMENEZ, individually and on           CASE NO.:
                                      behalf of all others similarly situated,
                                 15
                                                                                         CLASS ACTION COMPLAINT
                                                          Plaintiff,
                                 16                                                 1.   VIOLATIONS OF THE AMERICANS
                                             v.                                          WITH DISABILITIES ACT OF 1990, 42
                                 17                                                      U.S.C. § 12101
                                                                                    2.   VIOLATIONS OF THE UNRUH CIVIL
                                 18   HYATT CORPORATION, a Delaware                      RIGHTS ACT
                                      Corporation; and DOES 1 to 10, inclusive,          DEMAND FOR JURY TRIAL
                                 19
                                 20                          Defendants.

                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28
                                                                                 1
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 2 of 19


                                  1          Plaintiff Flor Jimenez (“Plaintiff”), individually and on behalf of all others similarly

                                  2   situated, brings this action based upon personal knowledge as to herself and her own acts, and as

                                  3   to all other matters upon information and belief, based upon, inter alia, the investigations of her

                                  4   attorneys.

                                  5                                    NATURE OF THE ACTION

                                  6          1.      Plaintiff is a visually impaired and legally blind person who requires Screen-

                                  7   reading software to read website content using her computer. Plaintiff uses the terms “blind” or

                                  8   “visually impaired” to refer to all people with visual impairments who meet the legal definition

                                  9   of blindness in that they have a visual acuity with correction of less than or equal to 20 x 200.

                                 10   Some blind people who meet this definition have limited vision. Others have no vision.

                                 11          2.      Plaintiff, individually and on behalf of those similarly situated persons (hereafter

                                 12   “Class Members”), brings this Class Action to secure redress against Hyatt Corporation

                                 13
3055 Wilshire Blvd, 12th Floor




                                      (“Defendant”), and DOES 1-10, for its failure to design, construct, maintain, and operate its
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   website to be fully and equally accessible to and independently usable by Plaintiff and other blind

                                 15   or visually impaired people. Defendant’s denial of full and equal access to its website, and

                                 16   therefore denial of its products and services offered thereby and in conjunction with its physical

                                 17   locations, is a violation of Plaintiff’s and the Class Member’s rights under the Americans with

                                 18   Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“Unruh Act”).

                                 19          3.      Because Defendant’s website, including but not limited to https://www.hyatt.com/

                                 20   (the “website” or “Defendant’s website”), is not fully or equally accessible to blind and visually

                                 21   impaired consumers, resulting in violation of the ADA, Plaintiff seeks a permanent injunction to

                                 22   cause a change in Defendant’s corporate policies, practices, and procedures so that Defendant’s

                                 23   website will become and remain accessible to blind and visually impaired consumers.

                                 24                                           THE PARTIES

                                 25          4.      Plaintiff, at all times relevant and as alleged herein, is a resident of California,

                                 26   County of Solano. Plaintiff is a legally blind, visually impaired, disabled person, and member of

                                 27   a protected class of individuals under the ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the

                                 28   regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.
                                                                                 2
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 3 of 19


                                  1          5.      Defendant is a Delaware corporation with its headquarters in Chicago, Illinois.

                                  2   Defendant’s servers for the website are in the United States. Defendant conducts a large amount

                                  3   of its business in California and the United States as a whole. The physical locations where

                                  4   Defendant’s goods and services are sold to the public constitute places of public accommodation

                                  5   pursuant to 42 U.S.C. § 12101(7)(A), as Defendant owns, operates, and controls brick-and-mortar

                                  6   hotels. Defendant’s hotels provide the public with important goods and services. Moreover,

                                  7   Defendant’s website provides consumers access to the goods and services which Defendant offers

                                  8   in its brick-and-mortar hotels. For example, Defendant’s website allows consumers to make hotel

                                  9   reservations, sign up for Defendant’s membership programs, sign up for Defendant’s credit cards,

                                 10   access Defendant’s current offers, access Defendant’s loyalty program, and book event and

                                 11   meeting spaces.

                                 12          6.      Defendant’s hotels are public accommodations within the definition of Title III of

                                 13
3055 Wilshire Blvd, 12th Floor




                                      the ADA, 42 U.S.C. § 12101(7)(A).
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14          7.      The website provides access to the goods, services, privileges, and advantages of

                                 15   Defendant’s brick-and-mortar hotels, places of public accommodation, by allowing consumers to

                                 16   make hotel reservations, sign up for Defendant’s membership programs, sign up for Defendant’s

                                 17   credit cards, access Defendant’s current offers, access Defendant’s loyalty program, and book

                                 18   event and meeting spaces.

                                 19          8.      Plaintiff is unaware of the true names, identities, and capacities of Defendants sued

                                 20   herein as DOES 1 to 10. Plaintiff will seek leave to amend this complaint to allege the true names

                                 21   and capacities of DOES 1 to 10 if and when ascertained. Plaintiff is informed and believes, and

                                 22   thereupon alleges, that each Defendant sued herein as a DOE is legally responsible in some

                                 23   manner for the events and happenings alleged herein and that each Defendant sued herein as a

                                 24   DOE proximately caused injuries and damages to Plaintiff as set forth below

                                 25                                   JURISDICTION AND VENUE

                                 26          9.      This Court has subject matter jurisdiction over the state law claims alleged in this

                                 27   Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §1332(d)(2)(A) because: (a) the

                                 28   matter in controversy exceeds the sum of $5 million, exclusive of interest and costs; and (b) some
                                                                                3
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 4 of 19


                                  1   of the class members are citizens of a state (California), which is minimally diverse from

                                  2   Defendant’s states of citizenship (Delaware and Illinois).

                                  3          10.     Defendant is subject to personal jurisdiction in this District. Defendant has been

                                  4   and is committing the acts or omissions alleged herein in the Eastern District of California that

                                  5   caused injury, and violated rights prescribed by the ADA and Unruh Act, to Plaintiff and to other

                                  6   blind and other visually impaired consumers. A substantial part of the acts and omissions giving

                                  7   rise to Plaintiff’s claims occurred in the Eastern District of California. Specifically, on several

                                  8   separate occasions, Plaintiff has been denied the full use and enjoyment of the facilities, goods,

                                  9   and services of Defendant’s website in Solano County. The access barriers Plaintiff has

                                 10   encountered on Defendant’s website have caused a denial of Plaintiff’s full and equal access

                                 11   multiple times in the past and now deter Plaintiff on a regular basis from accessing Defendant’s

                                 12   website. Similarly, the access barriers Plaintiff has encountered on Defendant’s website have

                                 13
3055 Wilshire Blvd, 12th Floor




                                      impeded Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   physical locations. Moreover, Defendant owns and operates branded hotels in the State of

                                 15   California, including Solano County.

                                 16          11.     This Court also has subject matter jurisdiction over this action pursuant to 28

                                 17   U.S.C. § 1331 and 42 U.S.C. § 12101, as Plaintiff’s claims arise under Title III of the ADA, 42

                                 18   U.S.C. § 12101, et seq. and 28 U.S.C. § 1367.

                                 19          12.     This Court also has subject matter jurisdiction under 28 U.S.C. § 1332, as the

                                 20   amount in controversy exceeds $75,000, exclusive of interest and costs, and Plaintiff and

                                 21   Defendant are completely diverse.

                                 22          13.     This Court has personal jurisdiction over Defendant because it conducts and

                                 23   continues to conduct a substantial and significant amount of business in the State of California,

                                 24   County of Solano, and because Defendant's offending website is available across California.

                                 25          14.     Venue is proper in the Eastern District of California pursuant to 28 U.S.C. § 1391

                                 26   because Plaintiff resides in this District, Defendant conducts and continues to conduct a

                                 27   substantial and significant amount of business in this District, Defendant is subject to personal

                                 28   jurisdiction in this District, and a substantial portion of the conduct complained of herein occurred
                                                                                 4
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                               Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 5 of 19


                                  1   in this District.

                                  2            15.        Defendant owns, operates, and maintains brick-and-mortar hotel locations in the

                                  3   State of California and the United States as a whole. Defendant’s brick-and-mortar hotel locations

                                  4   offer goods and services to the public. Defendant also offers the very goods and services that are

                                  5   offered in Defendant’s places of public accommodation to the public through the website.

                                  6   Defendant’s brick-and-mortar hotel locations are places of public accommodation pursuant to 42

                                  7   U.S.C. § 12101(7)(A), and Defendant’s website is subject to the ADA because it provides

                                  8   methods by which consumers can access the goods and services offered in Defendant’s brick-

                                  9   and-mortar hotels, which are inaccessible to Plaintiff and the Class Members, who are disabled

                                 10   screen reader users.

                                 11             THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET

                                 12            16.        The Internet has become a significant source of information, a portal, and a tool

                                 13
3055 Wilshire Blvd, 12th Floor




                                      for conducting business, doing everyday activities such as shopping, learning, banking,
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   researching, as well as many other activities for sighted, blind, and visually impaired persons

                                 15   alike.

                                 16            17.        In today's tech-savvy world, blind and visually impaired people can access

                                 17   websites using keyboards in conjunction with screen access software that vocalizes the visual

                                 18   information found on a computer screen. This technology is known as Screen-reading software.

                                 19   Screen-reading

                                 20            18.        software is currently the only method a blind or visually impaired person may

                                 21   independently use to access the internet. Unless websites are designed to be read by Screen-

                                 22   reading software, blind and visually impaired persons are unable to fully access websites, and the

                                 23   information, products, and services contained thereon.

                                 24            19.        Blind and visually impaired users of Windows operating system-enabled

                                 25   computers and devices have several screen-reading software programs available to them. Some

                                 26   of these programs are available for purchase and other programs are available without the user

                                 27   having to purchase the program separately. Job Access With Speech, otherwise known as

                                 28   “JAWS,” is currently the most popular, separately purchased and downloaded Screen-reading
                                                                                     5
                                                             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                                Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 6 of 19


                                  1   software program available for a Windows computer.

                                  2             20.    For Apple-based products, such as laptops and iPhones, the screen reader called

                                  3   “VoiceOver” is built into the operating system. Akin to JAWS, VoiceOver converts text to

                                  4   speech.

                                  5             21.    For Android-based products, TalkBack is built into the operating system and

                                  6   converts text to speech.

                                  7             22.    For Screen-reading software to function, the information on a website must be

                                  8   capable of being rendered into text. If the website content is not capable of being rendered into

                                  9   text, the blind or visually impaired user is unable to access the same content available to sighted

                                 10   users.

                                 11             23.    The international website standards organization, the World Wide Web

                                 12   Consortium, known throughout the world as W3C, has published Success Criteria for version 2.1

                                 13
3055 Wilshire Blvd, 12th Floor




                                      of the Web Content Accessibility Guidelines ("WCAG 2.1" hereinafter). WCAG 2.1 are well-
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   established guidelines for making websites accessible to blind and visually impaired people.

                                 15   These guidelines are adopted, implemented, and followed by most large business entities who

                                 16   want to ensure their websites are accessible to users of Screen-reading software programs. Though

                                 17   WCAG 2.1 is one of, if not the most, valuable resources for companies to operate, maintain, and

                                 18   provide a website that is accessible under the ADA to the public. Plaintiff seeks Defendant’s

                                 19   compliance with WCAG 2.1 as a remedy. Plaintiff does not premise Defendant’s violations of

                                 20   the ADA nor the Unruh Act on violations of WCAG 2.1. However, the Department of Justice

                                 21   (“DOJ”) has issued guidance on how to make web content accessible to people with disabilities.

                                 22   The DOJ’s guidance provides that: “Existing technical standards provide helpful guidance

                                 23   concerning how to ensure accessibility of website features. These include [WCAG] and the

                                 24   Section 508 standards, which the federal government uses for its own websites.” 1 Accordingly,

                                 25   although not a sole basis to premise violations of the ADA and the Unruh Act on, WCAG 2.1

                                 26   “provide[s] helpful guidance concerning how to ensure accessibility of website features.”

                                 27             24.    Within this context, the Ninth Circuit has recognized the viability of ADA claims

                                 28   1   https://beta.ada.gov/resources/web-guidance/
                                                                                  6
                                                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 7 of 19


                                  1   against commercial website owners/operators with regard to the accessibility of such websites.

                                  2   Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 905-06 (9th Cir. 2019), cert. denied, 140 S.Ct.

                                  3   122, 206 L. Ed. 2d 41 (2019). This is in addition to the numerous courts that have already

                                  4   recognized such application.

                                  5          25.      Each of Defendant’s violations of the Americans with Disabilities Act is likewise

                                  6   a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights Act provides that any

                                  7   violation of the ADA constitutes a violation of the Unruh Civil Rights Act. Cal. Civ. Code § 51(f).

                                  8                                     FACTUAL BACKGROUND

                                  9          26.      Defendant offers the website to the public. The website offers features that should

                                 10   allow all consumers to access the goods and services which Defendant offers in connection with

                                 11   its physical locations. The goods and services offered by Defendant include but are not limited

                                 12   to, the following: hotel reservations, membership programs, Defendant’s credit cards,

                                 13
3055 Wilshire Blvd, 12th Floor




                                      Defendant’s loyalty program, and event and meeting spaces.
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14          27.      Due to Defendant’s failure to properly code its website, Plaintiff and the Class

                                 15   Members have been and are still being denied equal and full access to Defendant’s hotels and the

                                 16   numerous goods, services, and benefits offered to the public through Defendant’s website in

                                 17   conjunction with Defendant’s brick-and-mortar hotel locations.

                                 18     THE WEBSITE BARRIERS DENY PLAINTIFF AND CLASS MEMBERS ACCESS

                                 19          28.      Plaintiff and the Class Members are visually impaired and legally blind persons,

                                 20   who cannot use a computer, cellphone, or tablet without the assistance of Screen-reading

                                 21   software. However, Plaintiff and the Class Members are proficient users of Screen-reading

                                 22   software. Plaintiff is a proficient user of JAWS and uses it to access the internet. Plaintiff visited

                                 23   https://www.hyatt.com/ using the JAWS screen reader to make hotel reservations for a trip she

                                 24   was planning.

                                 25          29.      During Plaintiff’s visit to Defendant’s website, Plaintiff encountered multiple

                                 26   access barriers which denied Plaintiff full and equal access to the facilities, goods, and services

                                 27   offered and provided to the public through the website in conjunction with its brick-and-mortar

                                 28   hotels. For example, while attempting to navigate Defendant’s website to make a hotel
                                                                                 7
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 8 of 19


                                  1   reservation, Plaintiff encountered incorrectly labelled buttons and form controls. When trying to

                                  2   use Defendant’s “Filters” dialog window on Defendant’s “Explore Hotels” page, she was unable

                                  3   to use her screen reader to interact with the form control buttons within the dialog window because

                                  4   they were improperly labelled. While the buttons featured visual labels such as “Digital Check-

                                  5   In,” “Free Breakfast,” and “Room Service,” Plaintiff’s screen reader announced every button as

                                  6   “Map of Hyatt Hotels and Resorts Worldwide – Hyatt Hotel Locations.” Consequently, Plaintiff

                                  7   was unable to use the dialog window to select her desired Hotel location. This and other examples

                                  8   of improperly labeled buttons and form controls prevented Plaintiff from being able to navigate

                                  9   and operate Defendant’s website. As a result of Defendant’s deficient website coding practices,

                                 10   Plaintiff was unable to make a hotel reservation using Defendant’s website in conjunction with

                                 11   her screen reader and denying her the goods and services of Defendant’s brick-and-mortar hotels.

                                 12   Because Plaintiff and the Class Members are legally blind, they must rely on their screen readers

                                 13
3055 Wilshire Blvd, 12th Floor




                                      in conjunction with their keyboards, cellphones, or tablets to access and navigate websites, like
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   Defendant’s website. As a result of Defendant’s failure to ensure that its website is coded to

                                 15   sufficiently interface with Plaintiff’s and the Class Member’s screen readers, Plaintiff and the

                                 16   Class Members were denied the goods and services offered through Defendant’s website which

                                 17   Defendant offers in conjunction with its brick-and-mortar hotels, such as the ability to make hotel

                                 18   reservations which Defendant offers on its website in conjunction with Defendant’s brick-and-

                                 19   mortar hotels. The barriers Plaintiff encountered prevented Plaintiff from consummating the

                                 20   reservation of a hotel room, as Defendant’s coding failures made Defendant’s website impossible

                                 21   to navigate and impossible to understand what goods and services are being sold.

                                 22          30.     Defendant’s website has numerous access barriers in addition to those already

                                 23   listed, including but not limited to form elements that are not coded to properly interface with

                                 24   Plaintiff’s screen reader. When interacting with the “Filter & Sort” dropdown menu, screen

                                 25   readers are unable to announce that the menu items are clickable and, once an item on the list is

                                 26   selected, screen readers do not announce the currently selected item. These barriers prevent users

                                 27   who rely on a screen reader from being able to filter their hotel search results thus preventing

                                 28   them from searching for and booking a hotel room using Defendant’s website. These and other
                                                                                 8
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 9 of 19


                                  1   coding failures have prevented visually impaired users, such as Plaintiff and Class Members, from

                                  2   accessing the goods and services offered through Defendant’s website which Defendant offers in

                                  3   conjunction with its brick-and-mortar hotels.

                                  4          31.     The Class Members all encountered a deficiently coded website. Thus, the Class

                                  5   Members and Plaintiff were barred from accessing goods and services because of Defendant’s

                                  6   failure to code its website to be usable by screen readers and they all encountered similar barriers.

                                  7          32.     As a result, Plaintiff, and the Class Members, who desired to make purchases and

                                  8   access services which Defendant provides through the website in conjunction with Defendant’s

                                  9   brick-and-mortar hotels could not do so as a sighted person could. If Defendant had sufficiently

                                 10   coded the website to be readable by Plaintiff’s and the Class Members’ screen readers and

                                 11   accessible with their keyboards, Plaintiff and the Class Members would have been able to interact

                                 12   with these elements and complete a purchase as a sighted person could.

                                 13
3055 Wilshire Blvd, 12th Floor




                                             33.     Accordingly, Plaintiff and the Class Members were denied the ability to make
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   purchases of goods and services which Defendant provides through the website in conjunction

                                 15   with its places of public accommodation, its hotels, because Defendant failed to have the proper

                                 16   procedures in place to ensure that content uploaded to the website contain the proper coding to

                                 17   convey the meaning and structure of the website and the goods and services provided by

                                 18   Defendant therewith.

                                 19          34.     Due to the widespread access barriers Plaintiff and Class Members encountered

                                 20   on Defendant’s website, Plaintiff and Class Members have been deterred, on a regular basis, from

                                 21   accessing Defendant’s website. Similarly, the access barriers Plaintiff and Class Members

                                 22   encountered on Defendant’s website have deterred Plaintiff and Class Members from visiting

                                 23   Defendant’s physical locations.

                                 24          35.     Despite Plaintiff’s and the Class Member’s attempts to do business with Defendant

                                 25   on its website, the numerous access barriers contained on the website and encountered by

                                 26   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website, and Defendant’s

                                 27   hotels. Plaintiff, because of the barriers on Defendant’s website, continues to be deterred from

                                 28   accessing Defendant’s website, and Defendant’s hotels. Likewise, based on the numerous access
                                                                                 9
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 10 of 19


                                  1   barriers Plaintiff and the Class Members have been deterred and impeded from the full and equal

                                  2   enjoyment of goods and services offered in Defendant’s hotels. If Defendant’s website was

                                  3   properly coded, Plaintiff and the Class Members could and would complete purchases and access

                                  4   other goods and services provided through the website by Defendant in conjunction with its

                                  5   physical hotels.

                                  6          36.     Akin to Plaintiff, the Class Members were denied goods and services which

                                  7   Defendant provides through the website in conjunction with Defendant’s hotels, and places of

                                  8   public accommodation. The Class Members and Plaintiff are thereby deterred from patronizing

                                  9   Defendant’s hotels as a result of Defendant’s failure to properly code the website. Like Plaintiff,

                                 10   the Class Members were denied access as a result of Defendant’s coding failures. Plaintiff and

                                 11   the Class Members all suffered the same injury because their screen readers were all incapable of

                                 12   reading aloud the visual elements of the website which support the services and goods which

                                 13
3055 Wilshire Blvd, 12th Floor




                                      Defendant provides through the website in conjunction with its hotels.
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14        DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO DEFENDANT’S

                                 15    PHYSICAL LOCATIONS TO SUBJECT THE WEBSITE TO THE REQUIREMENTS

                                 16                                            OF THE ADA

                                 17          37.     Defendant’s website is subject to the ADA because the goods and services that

                                 18   Defendant offers on the website are an extension of the goods and services offered in Defendant’s

                                 19   brick-and-mortar hotels. For example, the goods and the services which can be procured online

                                 20   are available for purchase in Defendant’s brick-and-mortar hotels. Moreover, the website

                                 21   connects consumers to the goods and services of Defendant’s website by allowing consumers to

                                 22   purchase goods and services provided in Defendant’s hotels through the website. Thus, since the

                                 23   website facilitates access to the goods and services of places of public accommodation, the

                                 24   website falls within the protection of the ADA because the website connects customers to the

                                 25   goods and services of Defendant’s hotels.

                                 26                      DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE

                                 27          38.     Due to the inaccessibility of the Defendant’s website, blind and visually impaired

                                 28   customers such as Plaintiff and the Class Members, who need screen readers, cannot fully and
                                                                                 10
                                                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 11 of 19


                                  1   equally use, or enjoy the facilities and services Defendant offers to the public on its website. The

                                  2   access barriers Plaintiff and Class Members encountered have caused a denial of Plaintiff’s and

                                  3   the Class Members’ full and equal access in the past and now deter Plaintiff and the Class

                                  4   Members on a regular basis from accessing the website.

                                  5          39.     These access barriers on Defendant’s website have deterred Plaintiff and the Class

                                  6   Members from enjoying the goods and services of Defendant’s brick-and-mortar hotels which are

                                  7   offered through Defendant’s website in a full and equal manner to sighted individuals. Plaintiff

                                  8   and Class Members intend to visit the Defendant’s locations if Plaintiff and Class Members could

                                  9   access Defendant’s website fully and equally as a sighted person can.

                                 10          40.     If the website was equally accessible to all, Plaintiff and Class Members could

                                 11   independently navigate the website and complete a desired transaction, as sighted individuals do.

                                 12          41.     Plaintiff, through Plaintiff’s attempts to use the website, has actual knowledge of

                                 13
3055 Wilshire Blvd, 12th Floor




                                      the access barriers that make these services inaccessible and independently unusable by blind and
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   visually impaired people.

                                 15          42.     The Defendant uses standards, criteria, or methods of administration that have the

                                 16   effect of discriminating or perpetuating the discrimination against others, as alleged herein.

                                 17          43.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

                                 18   action. In relevant part, the ADA requires:

                                 19          In the case of violations of […] this title, injunctive relief shall include an order to

                                 20          alter facilities to make such facilities readily accessible to and usable by

                                 21          individuals with disabilities […]. Where appropriate, injunctive relief shall also

                                 22          include requiring the […] modification of a policy […]. 42 U.S.C. § 12188(a)(2).

                                 23          44.     Because Defendant’s website has never been equally accessible and because

                                 24   Defendant lacks a corporate policy that is reasonably calculated to cause the Defendant’s website

                                 25   to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a

                                 26   permanent injunction requiring the Defendant to retain a qualified consultant acceptable to

                                 27   Plaintiff to assist Defendant to comply with WCAG 2.1 guidelines for Defendant’s website. The

                                 28   website must be accessible for individuals with disabilities who use desktop computers and
                                                                                11
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 12 of 19


                                  1   laptops. Plaintiff and Class Members seek that this permanent injunction require Defendant to

                                  2   cooperate with the agreed-upon consultant to: train Defendant’s employees and agents who

                                  3   develop the website on accessibility compliance under the WCAG 2.1 guidelines; regularly check

                                  4   the accessibility of the website under the WCAG 2.1 guidelines; regularly test user accessibility

                                  5   by blind or vision-impaired persons to ensure that the Defendant’s website complies under the

                                  6   WCAG 2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the

                                  7   Defendant’s website. The above provides contact information for users to report accessibility-

                                  8   related problems and require that any third-party vendors who participate on the Defendant’s

                                  9   website to be fully accessible to people with disabilities by conforming with WCAG 2.1.

                                 10          45.     If Defendant’s website was accessible, Plaintiff and Class Members could

                                 11   independently access information about goods and services offered and consummate a purchase

                                 12   as a sighted person can.

                                 13
3055 Wilshire Blvd, 12th Floor




                                             46.     Although Defendant may currently have centralized policies regarding
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   maintaining and operating Defendant’s website, Defendant lacks a plan and policy reasonably

                                 15   calculated to make Defendant’s website fully and equally accessible to, and independently usable

                                 16   by, blind and other visually impaired consumers.

                                 17          47.     Defendant has, upon information and belief, invested substantial sums in

                                 18   developing and maintaining Defendant’s website and Defendant has generated significant

                                 19   revenue from Defendant’s website. These amounts are far greater than the associated cost of

                                 20   making Defendant’s website equally accessible to visually impaired customers.

                                 21          48.     Without injunctive relief, Plaintiff and Class Members will continue to be unable

                                 22   to independently use Defendant’s website resulting in a violation of their rights.

                                 23                                 CLASS ACTION ALLEGATIONS

                                 24          49.     Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

                                 25   nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the Nationwide class is initially

                                 26   defined as follows:

                                 27          all legally blind individuals who have attempted to access Defendant’s website

                                 28          using screen-reading software from January 2022 up to and including final
                                                                                12
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 13 of 19


                                  1          judgment in this action.

                                  2          50.     The California class is initially defined as follows:

                                  3          all legally blind individuals in the State of California who have attempted to access

                                  4          Defendant’s website using Screen-reading software during January 2022 to July

                                  5          31, 2023.

                                  6          51.     Excluded from each of the above Classes is Defendant, including any entity in

                                  7   which Defendant has a controlling interest, is a parent or subsidiary, or which is controlled by

                                  8   Defendant, as well as the officers, directors, affiliates, legal representatives, heirs, predecessors,

                                  9   successors, and assigns of Defendant. Also excluded are the judge and the court personnel in this

                                 10   case and any members of their immediate families. Plaintiff reserves the right to amend the Class

                                 11   definitions if discovery and further investigation reveal that the Classes should be expanded or

                                 12   otherwise modified.

                                 13          52.     Numerosity: Fed. R. Civ. P. 23(a)(1). This action has been brought and may
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   properly be maintained as a class action against Defendant under Rules 23(b)(1)(B) and 23(b)(3)

                                 15   of the Federal Rules of Civil Procedure. Upon information and belief, there are no fewer than

                                 16   5,900 injured class members. The Members of the Class are so numerous that joinder of all

                                 17   Members is impracticable and the disposition of their claims in a class action rather than in

                                 18   individual actions will benefit the parties and the courts.

                                 19          53.     Typicality: Plaintiff and Class Members’ claims are typical of the claims of the

                                 20   Members of the Class as all Members of the Class are similarly affected by Defendant’s wrongful

                                 21   conduct, as detailed herein.

                                 22          54.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Members

                                 23   of the Class in that they have no interests antagonistic to those of the other Members of the Class.

                                 24   Plaintiff has retained experienced and competent counsel.

                                 25          55.     Superiority: A class action is superior to other available methods for the fair and

                                 26   efficient adjudication of this controversy. Since the damages sustained by individual Class

                                 27   Members may be relatively small, the expense and burden of individual litigation make it

                                 28   impracticable for the Members of the Class to individually seek redress for the wrongful conduct
                                                                                13
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 14 of 19


                                  1   alleged herein. Furthermore, the adjudication of this controversy through a class action will avoid

                                  2   the potentially inconsistent and conflicting adjudications of the claims asserted herein. There will

                                  3   be no difficulty in the management of this action as a class action. If Class treatment of these

                                  4   claims were not available Defendant would likely unfairly receive thousands of dollars or more

                                  5   in improper revenue.

                                  6          56.     Common Questions Predominate: Common questions of law and fact exist as to

                                  7   all Members of the Class and predominate over any questions solely affecting individual

                                  8   Members of the Class. Among the common questions of law and fact applicable to the Class are:

                                  9                       i. Whether Defendant’s website is inaccessible to the visually impaired who

                                 10                          use Screen-reading software to access internet websites;

                                 11                      ii. Whether Plaintiff and Class Members have been unable to access

                                 12                          Defendant’s website through the use of Screen-reading software;

                                 13
3055 Wilshire Blvd, 12th Floor




                                                        iii. Whether the deficiencies in Defendant’s website violate the Americans
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14                          with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq.;

                                 15                     iv. Whether the deficiencies in Defendant’s website violate the California

                                 16                          Unruh Civil Rights Act, California Civil Code § 51 et seq.;

                                 17                      v. Whether, and to what extent, injunctive relief should be imposed on

                                 18                          Defendant to make its website readily accessible to and usable by visually

                                 19                          impaired individuals;

                                 20                     vi. Whether Plaintiff and Class Members are entitled to recover statutory

                                 21                          damages with respect to Defendant’s wrongful conduct; and

                                 22                    vii. Whether further legal and/or equitable relief should be granted by the Court

                                 23                          in this action.

                                 24          57.     The class is readily definable and prosecution of this action as a Class action will

                                 25   reduce the possibility of repetitious litigation. Plaintiff knows of no difficulty which will be

                                 26   encountered in the management of this litigation that would preclude the maintenance of this

                                 27   matter as a Class action.

                                 28          58.     The prerequisites to maintaining a class action for injunctive relief or equitable
                                                                                14
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                                Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 15 of 19


                                  1   relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused to act on grounds

                                  2   generally applicable to the Class, thereby making appropriate final injunctive or equitable relief

                                  3   with respect to the Class as a whole.

                                  4             59.     The prerequisites to maintaining a class action for injunctive relief or equitable

                                  5   relief pursuant to Rule 23(b)(3) are met, as questions of law or fact common to the Class

                                  6   predominate over any questions affecting only individual Members and a class action is superior

                                  7   to other available methods for fairly and efficiently adjudicating the controversy.

                                  8             60.     The prosecution of separate actions by Members of the Class would create a risk

                                  9   of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.

                                 10   Additionally, individual actions may be dispositive of the interest of all Members of the Class

                                 11   although certain Class Members are not parties to such actions.

                                 12             61.     Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff

                                 13
3055 Wilshire Blvd, 12th Floor




                                      seek, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   systematic policies and practices make declaratory relief with respect to the Class as a whole

                                 15   appropriate.

                                 16                                                 COUNT I

                                 17                   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

                                 18                                        42 U.S.C. § 12101 ET SEQ.

                                 19                   (On Behalf of Plaintiff, the Nationwide Class, and the California Class)
                                 20             62.     Plaintiff re-alleges and incorporates herein by reference each and every allegation

                                 21   contained in paragraphs 1 through 59, inclusive, of this Complaint as though fully set forth at

                                 22   length.

                                 23             63.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

                                 24   individual shall be discriminated against on the basis of disability in the full and equal enjoyment

                                 25   of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

                                 26   accommodation by any person who owns, leases (or leases to), or operates a place of public

                                 27   accommodation.” 42 U.S.C. § 12182(a).

                                 28             64.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also
                                                                                   15
                                                            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                             Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 16 of 19


                                  1   includes, among other things: “a failure to make reasonable modifications in policies, practices,

                                  2   or procedures, when such modifications are necessary to afford such goods, services, facilities,

                                  3   privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

                                  4   demonstrate that making such modifications would fundamentally alter the nature of such goods,

                                  5   services, facilities, privileges, advantages or accommodations”; and “a failure to take such steps

                                  6   as may be necessary to ensure that no individual with a disability is excluded, denied services,

                                  7   segregated or otherwise treated differently than other individuals because of the absence of

                                  8   auxiliary aids and services, unless the entity can demonstrate that taking such steps would

                                  9   fundamentally alter the nature of the good, service, facility, privilege, advantage, or

                                 10   accommodation being offered or would result in an undue burden.” 42 U.S.C. §

                                 11   12182(b)(2)(A)(ii)-(iii). “A public accommodation shall take those steps that may be necessary

                                 12   to ensure that no individual with a disability is excluded, denied services, segregated, or otherwise

                                 13
3055 Wilshire Blvd, 12th Floor




                                      treated differently than other individuals because of the absence of auxiliary aids and services,
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   unless the public accommodation can demonstrate that taking those steps would fundamentally

                                 15   alter the nature of the goods, services, facilities, privileges, advantages, or accommodations being

                                 16   offered or would result in an undue burden, i.e., significant difficulty or expense.” 28 C.F.R. §

                                 17   36.303(a). In order to be effective, auxiliary aids and services must be provided in accessible

                                 18   formats, in a timely manner, and in such a way as to protect the privacy and independence of the

                                 19   individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).

                                 20          65.     Defendant’s hotel locations are “public accommodations” within the meaning of

                                 21   42 U.S.C. § 12101 et seq. Upon information and belief, Defendant generates millions of dollars

                                 22   in revenue from the sale of its amenities and services, privileges, advantages, and

                                 23   accommodations in California through its locations and related services, privileges, advantages,

                                 24   and accommodations, and its website is a service, privilege, advantage, and accommodation

                                 25   provided by Defendant that are inaccessible to customers who are visually impaired like Plaintiff

                                 26   and the Class Members. This inaccessibility denies visually impaired customers full and equal

                                 27   enjoyment of and access to the facilities and services, privileges, advantages, and

                                 28   accommodations that Defendant makes available to the non-disabled public. Defendant is
                                                                                16
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                                Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 17 of 19


                                  1   violating the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., in that Defendant denies

                                  2   visually impaired customers the services, privileges, advantages, and accommodations provided

                                  3   by the website. These violations are ongoing.

                                  4             66.   Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

                                  5   and incorporated therein Plaintiff requests relief as set forth below.

                                  6                                               COUNT II

                                  7                      VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT

                                  8                             CALIFORNIA CIVIL CODE § 51 ET SEQ.

                                  9                             (On Behalf of Plaintiff and the California Class)

                                 10             67.   Plaintiff re-alleges and incorporates herein by reference each and every allegation

                                 11   contained in paragraphs 1 through 64, inclusive, of this Complaint as though fully set forth at

                                 12   length.

                                 13
3055 Wilshire Blvd, 12th Floor




                                                68.   Defendant’s hotel locations are “business establishments” within the meaning of
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14   the California Civil Code § 51 et seq. Upon information and belief, Defendant generates millions

                                 15   of dollars in revenue from the sale of its services in California through its physical locations and

                                 16   related services, and the website is a service provided by Defendant that is inaccessible to

                                 17   customers who are visually impaired like Plaintiff and Class Members. This inaccessibility denies

                                 18   visually impaired customers full and equal access to Defendant’s facilities and services that

                                 19   Defendant makes available to the non-disabled public. Defendant is violating the Unruh Civil

                                 20   Rights Act, California Civil Code § 51 et seq., in that Defendant is denying visually impaired

                                 21   customers the services provided by the website. These violations are ongoing.

                                 22             69.   Defendant is violating the Unruh Civil Rights Act, California Civil Code § 51 et

                                 23   seq. in that the conduct alleged herein likewise constitutes a violation of various provisions of the

                                 24   ADA, 42 U.S.C. § 12101 et seq. Section 51(f) of the California Civil Code provides that a

                                 25   violation of the right of any individual under the ADA shall also constitute a violation of the

                                 26   Unruh Civil Rights Act.

                                 27             70.   The actions of Defendant were and are in violation of the Unruh Civil Rights Act,

                                 28   California Civil Code § 51 et seq.; therefore, Plaintiff and Class Members are entitled to injunctive
                                                                                17
                                                         CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                               Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 18 of 19


                                  1   relief remedying the discrimination.

                                  2            71.   Plaintiff and Class Members are also entitled to statutory minimum damages

                                  3   pursuant to California Civil Code § 52 for each and every offense.

                                  4            72.   Plaintiff and Class Members are also entitled to reasonable attorneys’ fees and

                                  5   costs.

                                  6            73.   Plaintiff and Class Members are also entitled to a preliminary and permanent

                                  7   injunction enjoining Defendant from violating the Unruh Civil Rights Act, California Civil Code

                                  8   § 51 et seq., and requiring Defendant to take the steps necessary to make the website readily

                                  9   accessible to and usable by visually impaired individuals.

                                 10
                                 11
                                 12
                                 13
3055 Wilshire Blvd, 12th Floor
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14
                                 15
                                 16
                                 17
                                 18
                                 19
                                 20
                                 21
                                 22
                                 23
                                 24
                                 25
                                 26
                                 27
                                 28
                                                                               18
                                                        CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                                              Case 2:23-cv-03028-KJN Document 1 Filed 12/28/23 Page 19 of 19


                                  1                                        PRAYER FOR RELIEF

                                  2           WHEREFORE, Plaintiff, individually and on behalf of all Class Members, respectfully

                                  3   requests that the Court enter judgment in her favor and against Defendant as follows:

                                  4           A.      For an Order certifying the Nationwide Class and California Class as defined

                                  5                   herein and appointing Plaintiff and her Counsel to represent the Nationwide Class

                                  6                   and the California Class;

                                  7           B.      A preliminary and permanent injunction pursuant to 42 U.S.C. § 12188(a)(1) and

                                  8                   (2) and section 52.1 of the California Civil Code enjoining Defendant from

                                  9                   violating the Unruh Civil Rights Act, the ADA and requiring Defendant to take

                                 10                   the steps necessary to make the website readily accessible to and usable by visually

                                 11                   impaired individuals;

                                 12           C.      An award of statutory minimum damages of $4,000 per offense per person

                                 13
3055 Wilshire Blvd, 12th Floor




                                                      pursuant to section 52(a) of the California Civil Code.
Los Angeles, CA 90010-1137
 WILSHIRE LAW FIRM, PLC




                                 14           D.      For attorneys’ fees and expenses pursuant to California Civil Code §§ 52(a),

                                 15                   52.1(h), and 42 U.S.C. § 12205;

                                 16           E.      For pre-judgment interest to the extent permitted by law;

                                 17           F.      For costs of suit; and

                                 18           G.      For such other and further relief as the Court deems just and proper.

                                 19                                    DEMAND FOR JURY TRIAL
                                 20           Plaintiff, on behalf of herself and all others similarly situated, hereby demands a jury trial

                                 21   for all claims so triable.

                                 22
                                 23   Dated: December 28, 2023                               Respectfully Submitted,

                                 24
                                                                                             /s/ Thiago M. Coelho
                                 25                                                          Thiago M. Coelho
                                 26                                                          WILSHIRE LAW FIRM
                                                                                             Attorney for Plaintiff and
                                 27                                                          Proposed Class

                                 28
                                                                                 19
                                                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
